                           Case 13-10839-RBR                   Doc 15       Filed 02/19/13            Page 1 of 29


86 Swrunary (Official Fonn 6 - Summary) (12107)



                                          United States Bankruptcy Court

lnre     ~J.f ~,1.              f>ebtor
                                                                                          Case No.    Jz-Iom-Rg~,
                                                                                          Chapter        1."3
                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to detennine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to detennine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7,11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)        NO. OF SHEETS           ASSETS              LIABILITIES               OTHER

 A • Real Property
                                                  y~J.                                $9t)aaa)
 B - Personal Property
                                              y~J.                 ~/                 $'1oo 'JpJ0
                                                              /"
                                              •
                                                          ,~ V
 C • Property Claimed
     as Exempt
                                                                                                                          I




                                                                                                            $~/C£l D-­
    Creditors Holding                                 /
    Secured Claims                                                                               ~




                                                                                                                 r2f
 E - Creditors Holding Unsecured                                                                           $
     Priority Oaims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured
     Nonpriority Claims


 G - Executory Contracts and
                                                                                                           $

                                                                                                               ff
     Unexpired Leases


H - Codebtors
                                                                                                               d
                                                                                                                                              '.....,

                                                                                                                                    ~6€~
I - Current Income of
    Individual Debtor(s)                                                                                    rl
J - Current Expenditures of Individual                                                                                              $         [T1)t;7'
    Debtors(s)                                                                                                                       13atJ. '(7­
                                         TOTAL
                                                                                      $ar;gtt>&.t          $
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                          Case 13-10839-RBR                    Doc 15     Filed 02/19/13           Page 2 of 29


B 6 Summary (Official Fonn 6 - Summary) (12/07)


                                         United States Bankruptcy Court
In re     })~J( ~fr"          De or
                                                                                       Case No.    ) ,5/08'31 -f?/i j( .
                                                                                       Chapter _     )-'3=-_
                                                                                                    ......

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8», filing a case under chapter 7,11 or 13, you must report all information requested below.

          o Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.c. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liabi/ity                                                   Amount

 Domestic Support Obligations (from Schedule E)                      $     -­
 Taxes and Certain Other Debts Owed to Governmental Units
 (from Schedule E)
                                                                     $
                                                                            -
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)
                                                                     $
                                                                           -
 Student Loan Obligations (from Schedule F)                          $
                                                                           -
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E
                                                                     $
                                                                           -
 Obligations to Pension or Profit-Sharing, and Other Similar
 Obligations (from Schedule F)
                                                                     $   ...­
                                                          TOTAL      $
                                                                           --­
State teo
       h f, IIOWID2:
 Average Income (from Schedule I, Line 16)                          $:1ebO~
 Average Expenses (from Schedule J, Line 18)                         $

 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                $/3P 0       't.
State the followin :
  1. Total from Schedule D, "UNSECURED PORTION, IF
  ANY"column

  2. Total from Schedule E, "AMOUNT ENTITLED TO
  PRIORITY" column.

  3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
  PRIORITY, IF ANY" column

  4. Total from Schedule F

  5. Total of non-priority unsecured debt (sum of 1,3, and 4)
                         Case 13-10839-RBR                     Doc 15         Filed 02/19/13              Page 3 of 29



                                                                                                        Case No.      )31 Oks) RI5J( ~
                                                                                                                             (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co­
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. Ifthe debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an "H,"
"W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G • Executory Contracts and
Unexpired Leases.

    Ifan entity claims to have alien or hold a secured interest in any property, state the amount ofthe secured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

   If the debtor is an individual or ifajoint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




                                                                                     !;i
             DESCRIPTION AND                                                         ~E;           CURRENT VALUE                     AMOUNT OF
               LOCATION OF                          NATURE OF DEBTOR'S               w-z:
                                                                                     u... :::a       OF DEBTOR'S                      SECURED
                PROPERTY                           INTEREST IN PROPERTY              ail
                                                                                     CO
                                                                                                     INTEREST IN                       CLAIM
                                                                                     :z: .....   PROPERTY, WITHOUT
                                                                                     ca: cz:       DEDUCTING ANY
                                                                                     ..,0
                                                                                     c.n           SECURED CLAIM
                                                                                     ::::::0
                                                                                     :c            OR EXEMPTION

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                                                                                (Report also on Summary of Schedules.)
                            Case 13-10839-RBR                   Doc 15        Filed 02/19/13             Page 4 of 29

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                                                                                                                                known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property ofthe debtor ofwhatever kind. Ifthe debtor has no property in one or more ofthe categories,
place an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number ofthe category. Ifthe debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an
individual or ajoint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location ofProperty."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. §112 and Fed. R. Bankr. P. l007(m).



                                                                                                                ~
                                                                                                                           CURRENT VALUE OF
                                                                                                                           DEBTOR'S INTEREST

                                                                                                                ~i
                                                     N                                                                     IN PROPERTY, WITH­
          TYPE OF PROPERTY                           0           DESCRIPTION AND LOCATION                                  OUT DEDUCTING ANY
                                                     N                 OF PROPERTY                              "'s          SECURED CLAIM
                                                                                                                ~8
                                                     E                                                          If!!          OR EXEMPTION

 1. Cash on hand.                               'f..
 2. Checking, savings or other finan­
 cial accounts, certificates of deposit
                                                ~
 or shares in banks, savings and loan,
 thrift, building and loan, and home­
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land­
                                                X
 lords, and others.


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                                                                                                                                             ....
 4. Household goods and fumishings,
 including audio, video, and computer
                                                                                                                            I S:-OO
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,
 record, tape, compact disc, and other
                                               ;L.
 collections or collectibles.

 6. Wearing apparel.                                     &J;>i j) r1;<.­                                                       (,.00       ­
 7. Furs and jewelry.
                                                X
 8. Firearms and sports, photo­
 graphic, and other hobby equipment.            "<
9. Interests in insurance policies.
Name insurance company ofeach                   X
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name                .,(
each issuer.

 II. Interests in an education IRA as
defined in 26 U.S.C. § 530(b)( I) or under
a qualified State tuition plan as defined in
                                               X
26 U.S.c. § 529(b)(I). Give particulars.
(File separately the record(s) ohny such
interest(s). II U.S.C. § 521(c).)
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                                                                                                    Case No.       J3l o2S2f2!3t-·
                                                                                                                         (ICkDown)

                                           SCHEDULEB-PERSONALPROPERTY
                                                             (Continuation Sheet)


                                                                                                           !if          CURRENT VALUE OF
                                                                                                           !l!          DEBTOR'S INTEREST
                                                  N                                                        Iii
                                                                                                           !it::>
                                                                                                                        IN PROPERTY, WITH­
                                                                                                                        OUT DEDUCTING ANY
         TYPE OF PROPERTY                         0        DESCRIPTION AND LOCATION
                                                  N
                                                  E
                                                                  OF PROPERTY
                                                                                                           I~!!I          SECURED CLAIM
                                                                                                                           OR EXEMPTION


22, Patents, copyrights, and other
intellectual property, Give particulars.
                                              -{
23. Licenses, franchises, and other general   X
intangibles. Give particulars.

24. Customer lists or other compilations
containing personally identifiable
information (as defined in II U,S,C.
 § 10 I(41A» provided to the debtor by        X.
individuals in connection with obtaining a
product or service from the debtor
primarily for personal, family, or
household purposes,
                                                                                    j)1J   v'1, ",itt).l                1:0'100      -
 25, Automobiles, trucks, trailers,
and other vehicles and accessories.
                                                      )003 LrntD//l--.
26, Boats, motors, and accessories.           )(
                                              ,(
27. Aircraft and accessories.

28. Office equipment" furnishings,            X
and supplies.


29. Machinery, fixtures, equipment,           X
and supplies used in business.


30. Inventory.                                X

31. Animals.                                  K

32. Crops - growing or harvested.
Give particulars.
                                              X

33. Farming equipment illid implements.       ?(

34. Farm supplies, chemicals, and feed.       x:
35. Other personal property of any kind
not already listed. Itemize.                  >(

                                                                     continuation sheets attached     Total>­       S
                                                                (Inc! ude amounts from any contInUatIOn
                                                                sheets attached, Report total also on
                                                                            Summary of Schedules,)
                             Case 13-10839-RBR             Doc 15    Filed 02/19/13    Page 6 of 29

B 6B (Official Form 6B) (12/07) -- Cont.



                                                                                      Case No.



                                           SCHEDULE B-PERSONAL PROPERTY
                                                           (Continuation Sheet)

                                                                                             Iii     CURRENT VALUE OF
                                                                                             Si      DEBTOR'S INTEREST

          TYPE OF PROPERTY
                                                       N
                                                       0   DESCRIPTION AND LOCATION          ~i      IN PROPERTY, WITH­
                                                                                                     OUT DEDUCTING ANY
                                                                                             ai
                                                                                             I~I!S
                                                       N         OF PROPERTY                           SECURED CLAIM
                                                       E                                                OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or           )(
 other pension or profit sharing plans.
 Give particulars.

 13. Stock and interests in incorporated          ')(
 and unincorporated businesses.
 Itemize.

 14. Interests in partnerships or joint          1<;
 ventures. Itemize.

 15. Government and corporate bonds
 and other negotiable and non­                   >(
 negotiable instruments.

 16. Accounts receivable.                        )(
17. Alimony, maintenance, support,
and property settlements to which the
debtor is or may be entitled. Give
                                                 K
particulars.

18. Other liquidated debts owed to
debtor including tax refunds. Give               K:
particulars.

19. Equitable or future interests, life
estates, and rights or powers exercisable
for the benefit of the debtor other than
                                                 >\
those listed in Schedule A - Real
Property.

20. Contingent and noncontingent
interests in estate of a decedent, death
benefit plan, life insurance policy, or trust.
                                                 X
21. Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor, and        X
rights to setoffclaims. Give estimated
value of each.
                          Case 13-10839-RBR                                  Doc 15                 Filed 02/19/13                  Page 7 of 29

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                                       ~.,
                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

  Debtor claims the exemptions to which debtor is entitled under:                                  o    Check if debtor claims a homestead exemption that exceeds
  (Check one box)                                                                                       $146,450.*
  o 11 U.S.C. § 522(b)(2)
  o 11 U.S.c. § 522(b)(3)


                                                                                                                               .'
                                                                                                                                                  CURRENT
                                                SPECIFY LAW                                                             VALlJEOF             VALUE OF PROPERTY
   DESCRIPTION OF PROPERTY                    PROVIDING EACH                                                            CliAIMED             WITHOUT DEDUCTING
                                                 EXEMPTION                                                             EXEMPTION                 EXEMPTION
                                                                                                                  .­



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... Amount subject to adjustment on 411113. and every three years thereafter with respect to cases commenced on or after the date ofadjustment.
                             Case 13-10839-RBR                                   Doc 15            Filed 02/19/13                            Page 8 of 29




                                                                                                                            Case No.              )3/ O~~l2-g~.  (Ifkriow

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
               State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
     property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
    to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
    judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
               List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
    address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C. § 112
    and Fed. R. Bankr. P. I007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
    entity on the appropriate schedule of creditors, and complete Schedule H - Co debtors. If a joint petition is filed, state whether the husband, wife,
    both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "c" in the column labeled "Husband, Wife,
    Joint, or Community."
               If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
    labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
    these three columns.)
               Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes
    labeled "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value
    of Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
    labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.


              D         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.



      CREDITOR'S NAJ\tIE AND                            ~                 DATE CLAIM WAS                            Q                     AMOUNT OF CLAIM                          UNSECURED
                                                               ;.-                                      E-<
         MAILING ADDRESS                    r::=:
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    _ _continuation sheets                                               Subtotal ~                                                                                            $
       attached                                                          (Total of this page)                                            $   '301        020""
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                                                                         Total ~
                                                                         (Use only on last page)                                         $   2 (f', l.?Vi:1"'­                 $
                                                                                                                                         ( Rep,d'rt al:to on Summary of        (If app licable, re Port
                                                                                                                                         Schedules. )                          also on Statistical
                                                                                                                                                                               Summary of Certain
                                                                                                                                                                               Liabilities and Related
                                                                                                                                                                               Data.)
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                                                                                                         Case No.
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                                                                                                                             (ifknown)


          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
 including zip code, and last four digits ofthe account number, if any, of all entities holding priority claims against the debtor or the property ofthe
 debtor, as of the date ofthe filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
 debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

     If any entity other than a spouse in ajoint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both ofthem, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the
column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet ofthe completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

¢' Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAWS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

o Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a govermnental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

o Extensions of credit in an involuntary case
  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement ofthe case but before the earlier ofthe
appointment ofa trustee or the order for relief. 11 U.S.c. § 507(a)(3).

o Wages, salaries, and commissions
  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and cormnissions owing to qualifYing
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.c. § 507(a)(4).
o   Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the tiling of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


  * Amount subject to adjustment on 4101113, and every three years thereafter with respect to cases commenced on or after the date ofadjustment.
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B 6E (Official Form 6E) (04/10) - Cont


  In re   _S\-..:.I.....                d~"
                     ...::::..:::ViUf--l-1
                                 Debtor
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o Certain farmers and fishermen
  Claims ofcertain fanners and fishermen, up to $5,775* per fanner or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


o Deposits by individuals
  Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


o Taxes and Certain Other Debts Owed to Governmental Units
  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


o Commitments to Maintain the Capital of an Insured Depository Institution
  Claims based on commitments to the FDIC, RTC, Director ofthe Office of Thrift Supervision, Comptroller ofthe Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


o Claims for Death or Personal Injury While Debtor Was Intoxicated
  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(IO).




* Amounts are subject to adjustment on 410/1/3, and every three years thereafter with respectto cases commenced on or after the date of
adjustment.




                                                                      continuation sheets attached
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B 6E (Official Form 6E

                                                                                            Case No.              /3/      bfSS ?g~.
                                                                                                                   (if known

   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                           (Continuation Sheet)

                                                                                                              Type of Priority for Claims Listed on This Sheet


       CREDITOR'S NAME,                                         DATE CLAIM WAS                                    AMOUNT           AMOUNT         AMOUNT
        MAILING ADDRESS                                          INCURRED AND                                        OF            ENTITLED         NOT
      INCLUDING ZIP CODE,                                       CONSIDERATION                                      CLAIM              TO         ENTITLED
     Ac~D ACCOUNT NUMBER                                           FOR CLAIM                                                       PRIORITY         TO
        (See instructions above.)                                                                                                               PRIORITY, IF
                                                                                                                                                    ANY




 Account No.




 Account No.




Account No.




Account No.




Sheet no.    of     continuation sheets attached to Schedule                                   Subtotals>     $                $
ofCreditors Holding Priority Claims                                                   (Totals of this page)

                                                                                                  Total>
                                                               (Use only on last page ofthe completed
                                                               Schedule E. Report also on the Summary
                                                               of Schedules.)

                                                                                                   Totals>
                                                               (Use only on last page of the completed
                                                               Schedule E. If applicable, report also on
                                                               the Statistical Summary ofCertain
                                                               Liabilities and Related Data.)
                                  Case 13-10839-RBR                      Doc 15           Filed 02/19/13                 Page 12 of 29

B6F (Official Form 6

                                                                                                             Case No.



           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits ofany account number, ofall entities ho lding unsecured claims without priority against
the debtor or the property ofthe debtor, as ofthe date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided ifthe debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address ofthe child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.c. §112 and Fed.
R. Bankr. P. l007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   Ifany entity other than a spouse in ajoint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H· Codebtors. Ifajoint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "II," "W," "J," or "C" in the colurno labeled "Husband, Wife, Joint, or Community."

     Ifthe claim is contingent, place an "X" in the column labeled "Contingent." Ifthe claim is unliquidated, place an "X" in the colurno labeled "Unliquidated."
If the claim is disputed, place an "X" in the colurno labeled "Disputed," (You may need to place an "X" in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule, Report this total also on the
Summary of Schedules and, ifthe debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

      o   Check th'IS box 1' fdebtor has no cre d'ltors h01d'mg unsecured claIms to report on th'IS SChedu Ie F
                                                      pj'
         CREDITOR'S NAME,                             g;;       t:          DATE CLAIM WAS                                 O                   AMOUNT OF
          MAILING ADDRESS                     cG
                                              0       ~cG~
                                                       ,0                    INCURRED AND
                                                                                                                   E­
                                                                                                                   ffi
                                                                                                                           IJ.l
                                                                                                                           E­                    CLAIM
        INCLUDING ZIP CODE,                   E­
                                              ~
                                                      ~ E-"
                                                      <25~
                                                                          CONSIDERATION FOR                        c.?     <
                                                                                                                           S        ~
                                                                                                                   ~ -~ -
       AND ACCOUNT NUMBER                     IJ.l                               CLAIM.                                    ::;.J   ::;.J
            (See instructions above.)         0       ~OO
                                                      til'""'            IF CLAIM IS SUBJECT TO                            CI       Q..
                                              0       ;:::J   U                                                                     til
                                              U                             SETOFF, SO STATE.                                       0
                                                      l:                                                           U

l ACCOUNT NO.
I



    ACCOUNT NO.




    ACCOUNT NO.




    ACCOUNT NO.




                                                                                                                            Subtotal»      $

    _ _continuation sheets attached                                                                                           Total»       $
                                                                                (Use only on last page ofthe completed Schedule F.)
                                                            (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                  Summary of Certain Liabilities and Related Data.)
                              Case 13-10839-RBR              Doc 15           Filed 02/19/13              Page 13 of 29

B 6F (Official Form 6F) (12/07) - ConI.



                                                                                                 Case No. -.r.."L-))    ~IO'""""""..lR~?3-"",-,e,-----",d::....:-~--,,-.
                                                                                                                              (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                   (Continuation Sheet)




     CREDITOR'S NAME,                                            DATE CLAIM WAS                                                    AMOUNT OF
     MAILING ADDRESS                                              INCURRED AND                                                       CLAIM
    INCLUDING ZIP CODE,                                        CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                 CLAIM.
         (See instructions above.)                            IF CLAIM IS SUBJECT TO
                                                                 SETOFF, SO STATE.


 ACCOUNT NO.




 ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




Sheet no._ _ of_ _ continuation sheets attached                                                                 Subtotal~      $
to Schedule of Creditors Hoiding Unsecured
Nonpriority Claims

                                                                                                                   Total~      $
                                                                     (Use only on last page ofthe completed Schedule F.)
                                                  (Report also on Summary ofScheduJes and, if applicable on the Statistical
                                                                        Summary ofCertain Liabilities and Related Data.)      1...-_ _ _ _ _......1
                 Case 13-10839-RBR                   Doc 15         Filed 02/19/13             Page 14 of 29


B 6G (Official

                                                                                   Case No.     13 ((if 02?3 ef)R.
                                                                                                           known)


      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor's interest in contract, i.e., "Purchaser." "Agent," etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one ofthe leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B .• a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §1l2 and
    Fed. R. Bankr. P. lO07(m).


o   Check this box if debtor has no executory contracts or unexpired leases.


          NAME AND l\'IAlLING ADDRESS,                                   DESCRIPTION OF CONTRACT OR LEASE AND
              INCLUDING ZIP CODE,                                         NATURE OF DEBTOR'S INTEREST. STATE
    OF OTHER PARTIES TO LEASE OR CONTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
                          Case 13-10839-RBR                   Doc 15          Filed 02/19/13            Page 15 of 29

B 6H (Official Form 6H

                                                                                                  Case No.            )'5 lOP?) K 6,( ,
                                                                                                                           (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian. n Do not disclose the
child's name. See, II U.S.c. §II2 and Fed. R Bankr. P. l007(m).

D   Check this box if debtor has no codebtors.


               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR



      Df ko~ 1!.~~e;W I~I':;<:: ,
       1r:Jb7(           I).   U)'"7 0/ .
     Cl.,J/J /I.
                          34"1i' z..       .
                           Case 13-10839-RBR                   Doc 15          Filed 02/19/13          Page 16 of 29

B61 (Official Form 61
    Inre _ _ _ _ _~_ _~-~~~~~~-                                                              Case No.      1?/Of?5      fBI­
                                                                                                                (if known)


                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
    filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.


      Debtor's Marital                               R~£)         DEPENDENTS OF DEBTOR AND SPOUSE
      Status:
                            RELA TIONSHlP(S):                                                                              AGE(S):

                                                     DEBTOR                                                       SPOUSE

                                                                                                                  ~-
                            ( (:;74          "etA '                                                               -
      Address of Employer 'J?/",I
                           10V\'
                                      s   n~ il-UYJ~I2~.~ /J~             I
                                                                     Ll. • )




    INCOME: (Estimate of average or projected monthly income at time           DEBTOR                     SPOUSE
                 case filed)
                                                                               $,-----­                   $
    1. Monthly gross wages, salary, and commissions
        (Prorate if not paid monthly)                                          $,-----­                   $
    2. Estimate monthly overtime

    3. SUBTOTAL
                                                                                                              $
    4, LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                    $,----­                    $
       b. Insurance                                                            $_---­                     $
       c. Union dues                                                           $_---­                     $
       d. Other (Specify): _ _ _ _ _ _ _ _ _ _ _ __                            $_---­                     $




                                                                               I:
    5. SUBTOTAL OF PAYROLL DEDUCTIONS
                                                                                                              $
   6, TOTAL NET MONTHLY TAKE HOME PAY                                                                         $

   7. Regular income from operation of business or profession or farm                                     $
        (Attach detailed statement)
   8. Income from real property                                                                           $
   9, Interest and dividends                                                                              $
   10. Alimony, maintenance or support payments payable to the debtor for
                                                                                                          $
          the debtor's use or that ofdependents listed above
   11. Social security or goverrunent assistance
        (Specify):_:--_-:-_ _ _ _ _ _ _ _ _ __                                                            $
   12. Pension or retirement income
   13, Other monthly income                                                                               $
          (Specify):_ _ _ _ _ _ _ _ _ _ _ _ __                            $                               $

   14. SUBTOTAL OF LINES 7 THROUGH 13                                           $

   15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)                   $

   16. COMBINED AVERAGE MONTHLY INCOME: (Combine column
   totals from line 15)                                 (Report also on Summary of Schedules and, if applicable,
                                                        on Statistical Summary of Certain Liabilities and Related Data)

   17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                              Case 13-10839-RBR                         Doc 15         Filed 02/19/13               Page 17 of 29

 B6J (Official Form 6J)

                                                                                                                  Case No.      J?I og?5 IV-.
                                                                                                                                r        (if known)


              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses ofthe debtor and the debtor's family at time case filed. Prorate any payments made bi­
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Form22A or 22C.

D         Check this box ifajoint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled "Spouse."

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                  $_--­
                                                                            ".-­
     a. Are real estate taxes included?           Yes                  No _ __
     b. Is property insurance included?           Yes _ __             No   ..-­
2. Utilities: a. Electricity and heating fuel                                                                                                          $
               b. Water and sewer                                                                                                                      $
              c. Telephone                                                                                                                             $      '7S­
              d. Other _ _ _ _ _ _ _ _ _ _ _~.                                                                                                         $
3. Home maintenance (repairs and upkeep)                                                                                                               $
4. Food                                                                                                                                                $ ~a::;            ­
5. Clothing                                                                                                                                            $   ~O             ­
6. Laundry and dry cleaning                                                                                                                            $        d,r
7. Medical and dental expenses                                                                                                                         $         at"
                                                                                                                                                             L!"'-O
8. Transportation (not including car payments)                                                                                                         $
9. Recreation, cI ubs and entertainment, newspapers, magazines, etc.
IO.Charitable contributions                                                                                                                            $
Il.Insurance (not deducted from wages or included in home mortgage payments)
          a. Homeowner's or renter's                                                                                                                   $
          b. Life
          c. Health                                                                                                                                    $
          d. Auto                                                                                                                                      $
          e. Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                $
12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                                                                       $
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
          a. Auto                                                                                                                                      $_--­
          b.~ber    _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ _~_ _
                                                                                                                                                       $_--­
          c.Other _ _ _ _ _ _ __                                                                                                                       $_--­
14. Alimony, maintenance, and support paid to others                                                                                                   $_---­
15. Payments for support of additional dependents not living at your home                                                                              $_---­
                                                                                                                                                       $
                                                                                                                                                       $ -=2,1=--=--00--:-:=-=-­

                            Y EXPENS S (Total lines 1-17. Report also on Summary of Schedules and,
   if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                I $~b";P"¥?
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:



20. STATEMENT OF MONTHLY NET INCOME
    a. Average monthly income from Line 15 of Schedule I
    b. Average monthly expenses from Line 18 above
    c. Monthly net income (a. minus b.)
                                  Case 13-10839-RBR                             Doc 15            Filed 02/19/13                   Page 18 of 29
 B6 Declaration (Official Fonn 6 -

                                                                                                                    Case No. )     3Lr      Q@3 -~,e ,
                                                                                                                                                 I   known}




                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                          DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _ _ shee                        nd that they are true and correct to the best of
 my knowledge, information, and belief.


Date   GJt£ If} J-O}.3   I
                                                                                                 Signature: - - - , J 9 " " - - - - - = - - : - - - - - - - - - ­
                                                                                                                                      Debtor

Date _ _ _ _ _ _ _ _ _ _ _ _ __                                                                  Signature: _ _ _ _ _ _ _.",-,.-::-:_-:-::_..,-_ _ _ _ _ __


                                                                                                      [If joint case, both spouses must sign.]


                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

   I declare under penalty ofperjury that: (I) I am a bankruptcy petition preparer as defined in II U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under II U.S.c. §§ 110(b}, IIO(h} and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § II00h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.


Printed or Typed Name and Title, if any,                                         Social Security No.
of Bankruptcy Petition Preparer                                                  (Required by 11 u.s. C. § J 10.)

Ifthe bankruptcy petition preparer is not an individual, stale the name, lille (if any), address. and social security number ofthe officer, prmcipal. responsible person, Or partner
who signs this document.




Address




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

if more Ihan one person prepared this documenl, attach addilional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcypetition preparer's/ailure to comply ....ith the provisions o/title 11 and the Federal R:ules 0/ Bankruptcy Procedure may result infines or imprisonment or Iwth. 11 US.C. § 110;
/8 US.c. § 156.



                  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTl\'ERSHIP


     I, the                                         [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership 1of the                                            [corporation or partnership1named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of_ _ sheets (Total shawn on summary page plus 1), and that they are true and correct to the best of my
knowledge, infonnation, and belief.


Date _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                      Signature: _ _ _ __


                                                                                                     [Print or type name of individual signing on behalf of debtor.]

{An individual signing on behalfoja partnership or corporation must indicate position or relationship to debtor.]

Penaltyfor mahngafalse statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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 B 7 (Official Fonn 7) (04/10)

                          UNITED STATES BANKRUPTCY COURT


Inre:_           ~ hS f1h~  tor
                                                                           Case No.     J 3/ Ofr'?3 !?3~
                                                                                               (ifknown)




                                      STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing ajoint petition may file a single statement on which
the infonnation for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.C.
§112 and Fed. R. Bankr. P. l007(m).

          Questions I - 18 are to be completed by all debtors. Debtors that are or have been in business, as deftned below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

            "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. II U.S.C. § 101.




       1.   Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
D           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this 'case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, fmandal records on
            the basis of a fiscal rather than a calendar year may report ftscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                                                                                      SOURCE
                Case 13-10839-RBR                     Doc 15        Filed 02/19/13            Page 20 of 29




                                                                                                                                      2
          2.   Income other than from employment or operation of business

          State the amount of income received by the debtor other than from employment, trade, profession, operation of the
          debtor's business during the two years immediately preceding the commencement of this case. Give particulars. Ifa
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses. are separated and a joint
          petition is not filed.)

                    AMOUNT                                                                  SOURCE




          3.   Payments to creditors

          Complete a. or b., as appropriate, and c.

          a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part ofan alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                 DATES OF             AMOUNT               AMOUNT
                                                            PAYMENTS             PAID                 STILL OWING




None
~        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
         within 90 days immediately preceding the commencement of the case unless the aggregate value ofall property that
         constitutes or is affected by such transfer is less than $5,850'. Ifthe debtor is an individual, indicate with an asterisk
         (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                            DATES OF                  AMOUNT               AMOUNT
                                                                 PAYMENTSI                 PAID OR              STILL
                                                                 TRANSFERS                 VALUE OF             OWING
                                                                                           TRANSFERS




           ·Amount subject to adjustment on 4101113, and every three years thereafter with respect to cases commenced on or
after the date 0/adjustment.
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                                                                                                                            3


c. All debtors: List all payments made within one year immediately preceding the commencement of this case
to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
ajoint petition is not filed.)

     NAME AND ADDRESS OF CREDITOR                  DATE OF              AMOUNT              AMOUNT
     AND RELATIONSHIP TO DEBTOR                    PAYMENT              PAID                STILL OWING




4. Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not ajoint petition is filed, unless the spouses are separated
and ajoint petition is not filed.)

     CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
     AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION




b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include information concerning property ofeither or both spouses whether or not a joint petition is filed, unless
the spouses are separated and ajoint petition is not filed.)

     NAME AND ADDRESS                                                                       DESCRIPTION
     OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
     BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY




5.   Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
offorecIosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

                                             DATE OF REPOSSESSION,                          DESCRIPTION
     NAME AND ADDRESS                        FORECLOSURE SALE.                              AND VALUE
     OF CREDITOR OR SELLER                   TRANSFER OR RETURN                             OF PROPERTY
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                                                                                                                                  4

      6.   Assignments and receiverships

      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
      either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
      filed.)

                                                                                                    TERMS OF
           NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
           OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement ofthis case. (Married debtors filing under chapter 12 or chapter 13 must
      include information concerning property ofeither or both spouses whether or not a joint petition is filed, unless the
      spouses are separated and ajoint petition is not filed.)

                                          NAME AND LOCATION                                                   DESCRIPTION
           NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
           OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY




     '7'   Gifts


EI
No    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
      and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
      chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed. unless
      the spouses are separated and ajoint petition is not filed.)        .

      NAME AND ADDRESS                   RELATIONSHIP                                                         DESCRIPTION
      OF PERSON                          TO DEBTOR,                      DATE                                 AND VALUE
      DR ORGANIZATION                    IF ANY                          OF GIFT                              OF GIFT




     8.    Losses

     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
     of this case or since the commencement oftbis case. (Married debtors filing under chapter 12 or chapter 13 must
     include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
     joint petition is not filed.)

     DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
     AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                      DATE
     PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                            OF LOSS
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                                                                                                                           5

9.   Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

                                             DATE OF PAYMENT,                    AMOUNT OF MONEY OR
NAME AND ADDRESS                             NAME OF PAYER IF                    DESCRIPTION AND
OF PAYEE                                     OTHER THAN DEBTOR                   VALUE OF PROPERTY




10. Other transfers
 a List all other property, other than property transferred in the ordinary course ofthe business or fmancial affairs of
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not ajoint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                       DESCRIBE PROPERTY
RELATIONSHIP TO DEBTOR                                                TRANSFERRED AND
                                                       DATE           VALUE RECEIVED



b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                       DATE(S)OF                AMOUNT OF MONEY OR DESCRIPTION
DEVICE                                       TRANSFER(S)              AND VALUE OF PROPERTY OR DEBTOR'S
                                                                      INTEREST IN PROPERTY




11. Closed financial accounts

List all fmancial accounts and instruments held in the name of the debtor or for the benefit ofthe debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement ofthis case. Include
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brnkerage houses and other fmancial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and ajoint petition is not filed.)

                                  TYPE OF ACCOUNT, LAST FOUR                              AMOUNT AND
NAME AND ADDRESS                  DIGITS OF ACCOUNT NUMBER,                               DATE OF SALE
OF INSTITUTION                    AND AMOUNT OF FINAL BALANCE                             OR CLOSING
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                                                                                                                                  6

        12. Safe deposit boxes

No /    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
f3"     within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include boxes or depositories ofeither or both spouses whether or not ajoint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION         DATE OF TRANSFER
        OF BANK OR                         OF THOSE WITH ACCESS                OF                  OR SURRENDER,
        OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS            IF ANY




        13. Setoffs

        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
        the commencement ofthis case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                    DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                SETOFF                    OF SETOFF




             14. Property held for another person

        List all property owned by another person that the debtor holds or controls.


        NAME AND ADDRESS                        DESCRIPTION AND
        OF OWNER                                VALUE OF PROPERTY                                 LOCATION OF PROPERTY




        15. Prior address of debtor

None
D       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.

        ADDRESS                                NAME USED                               DATES OF OCCUPANCY
        IJb7S' n·                               ~i.s                 {J.;rl- .
       Lh ,/ALVY '>-/ .
        ~i1 /1.
                3~V[~Z-'
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 16. Spouses and Former Spouses

Ifthe debtor resides or resided in a community property state, commonwealth. or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
years immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state.

NAME



17. Environmental Information.

For the purpose of this question, the following deflnitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases ofhazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
other medium, including, but not limited to, statutes or regUlations regUlating the cleanup of these substances, wastes,
or material.

"Site" means any location, facility, or property as defmed under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything deflned as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.


a. List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation ofan Environmental Law. Indicate the
governmental unit, the date ofthe notice, and, if known, the Environmental Law:

     SITE NAME                NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
     AND ADDRESS              OF GOVERNMENTAL UNIT                     NOTICE               LAW




b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date ofthe notice.

    SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
    AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address ofthe governmental unit that is or was a party
to the proceeding, and the docket number.

    NAME AND ADDRESS                         DOCKET NUMBER                       STATUS OR
    OF GOVERNMENTAL UNIT                                                         DISPOSITION




18. Nature, location and name of business

a. lfthe debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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           executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
           other activity either full- or part-time within six years immediately preceding the commencement ofthis case, or in
           which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
           the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature ofthe businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-LD. NO.
                               OT~/COMPLETEEIN




          b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
          defined in II U.S.C. § 101.

               NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any ofthe following; an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion ofthe statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement ofthis case. A debtor who has not been
in business within those six years should go directly to the signature page.)




          19. Books, records and financial statements

          a. List all bookkeepers and accountants who within two years immediately preceding the filing ofthis
          bankruptcy case kept or supervised the keeping ofbooks of account and records of the debtor.

              NAME AND ADDRESS                                                               DATES SERVICES RENDERED




          b. List all firms or individuals who within two years immediately preceding the filing ofthis bankruptcy
          case have audited the books of account and records, or prepared a fmancial statement of the debtor.

              NAME                                       ADDRESS                             DATES SERVICES RENDERED
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None /   c. List all fInns or individuals who at the time of the commencement of this case were in possession of the
if       books of account and records of the debtor. If any of the books of account and records are not available, explain.

              NAME                                                                        ADDRESS




         d. List all fmancial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                   NAME AND ADDRESS                                                            DATE ISSUED




         20. Inventories

         a. List the dates ofthe last two inventories taken of your property, the name ofthe person who supervised the
         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                               DOLLAR AMOUNT
                                                                                               OF INVENTORY
                  DATE OF INVENTORY                INVENTORY SUPERVISOR                        (Specif'y cost, market or other
                                                                                               basis)




         b. List the name and address ofthe person having possession of the records of each of the inventories reported
         in a., above.

                                                                                               NAME AND ADDRESSES
                                                                                               OF CUSTODIAN
                  DATE OF INVENTORY                                                            OF INVENTORY RECORDS




         21 . Current Partners, Officers, Directors and Shareholders

             a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member ofthe
             partnership.

             NAME AND ADDRESS                        NATURE OF INTEREST              PERCENTAGE OF INTEREST




             b. If the debtor is a corporation, list all officers and directors ofthe corporation, and each stockholder who
             directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
             corporation.
                                                                                     NATURE AND PERCENTAGE
                  NAME AND ADDRESS                              TITLE                  OF STOCK OWNERSillP
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 22 . Former partners, officers, directors and shareholders

a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

     NAME                                          ADDRESS                    DATE OF WITHDRAWAL




b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation tenninated
within one year immediately preceding the commencement ofthis case.

          NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION




23. Withdrawals from a partnership or distributions by a corporation

If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any fonn, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case.

          NAME & ADDRESS                                                         AMOUNT OF MONEY
          OF RECIPIENT,                           DATE AND PURPOSE               OR DESCRIPTION
          RELATIONSHIP TO DEBTOR                  OF WITHDRAWAL                  AND VALUE OF PROPERTY




24. Tax Consolidation Group.

If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation ofany
consolidated group for tax purposes of which the debtor has been a member at any time within six years
immediately preceding the commencement of the case.

    NAME OF PARENT CORPORATION                    TAXPAYER·IDENTIFICATION NUMBER (EIN)




25. Pension Funds.

If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

    NAME OF PENSION FUND                     TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                               * * * * * *
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                                                                                                                                                            11

             [If completed by an individual or individual and spouseJ

             I declare under penalty of peIjury that I have read the answers contained in the foregoing statem                           of fmanciaI affairs
             and any attachments thereto and that they are true and correct.


                                                                                   Signature
             Date                                                                  of Debtor

                                                                                   Signature of
                                                                                   Joint Debtor
             Date                                                                   (if any)




             [Ifcompleted on behalfofa partnership or corporation}

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief



             Date                                                                  Signature

                                                                                   Print Name and
                                                                                   Title

                       [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



                                                                _continuation sheets attached


                 Penaltyfor makingafalse statement: Fine ofup to S500,OOO or imprisonmentfor up to 5 years, or both. 18 U.s.c. §§ 152 and 3571



            DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PRE PARER (See 11 U.S.C. § 110)

   I declare under penalty of perjury that: (I) I am a bankruptcy petition preparer as defined in II U.S.C. § liD; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under II U.S.c. §§ 110(b), 110(h). and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to II U.S.c. § I \O(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section.




  Printed or Typed Name and Title, ifany, of Bankruptcy Petition Preparer                Social-Security No. (Required by II U.S.C. § liD.)

Ifthe bankruptcy pelilion preparer is not an individual, state the name, title (if any), address, and social-security number ofthe officer, principal,
responsible person, or partner who signs this document.




  Address



  Signature of Bankruptcy Petition Preparer                                              Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with die provisions oftitle 11 and die Federal Rules ofBankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S. C. § 156.
